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 1   BARRY J. PORTMAN
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 4
     Counsel for Defendant GATLIN
 5

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 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                                 )
                                                               )    No. CR 06-00189 SBA [WDB]
12                               Plaintiff,                    )
                                                               )    ORDER REMOVING SURETY
13
              v.                                               )    LAQUITA COTTON FROM THE
14                                                             )    BOND
     CARL GATLIN,                                              )
15                                                             )
                                                               )
16                             Defendant.                      )
17
                                               ORDER
18

19        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Laquita Cotton be removed

20   as a surety from the bond which was issued in the above-referenced case. All other conditions of

21   release shall remain the same.                                    ISTRIC
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22                                                              TA
          SO ORDERED.
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23
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                                                      UNIT




24   DATED: August 31, 2006                                    IT IS S
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25                                                                           Brazil
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                                                      NO




                                                       WAYNE D.e W  BRAZIL
                                                              Judg
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                                                       United States Magistrate Judge
                                                       RT




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     ORDER                                          -1-                       R
